              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                  CIVIL CASE NO. 1:21-mc-00027-MR


DALTON ALONZO DIXON,            )
                                )
              Petitioner,       )
                                )
vs.                             )                       ORDER
                                )
STATE OF NORTH CAROLINA and     )
STATE OF VIRGINIA,              )
                                )
              Respondents.      )
_______________________________ )

      THIS MATTER is before the Court sua sponte.

      The pro se Petitioner filed this petition seeking the appointment of the

Clerk of Court “as fiduciary trustee for the limited purpose of discharging on

debt” while he was incarcerated at the Marion Correctional Institution. [Doc.

1]. On September 30, 2021, the Clerk of Court mailed the Petitioner a Notice

of Deficiency informing him that he must either pay the filing fee or complete

and return an affidavit form, a copy of which was provided, within 21 days.

[Doc. 2]. Petitioner was cautioned that “[f]ailure to do so may result in the

dismissal of this action without prejudice for failure to prosecute.” [Id.].

      The Petitioner has failed to comply with the Notice of Deficiency, and

the time to do so has expired. The Petitioner appears to have abandoned



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this action, and the Court is unable to proceed. This case will therefore be

dismissed without prejudice. See Fed. R. Civ. P. 41(b) (“If the plaintiff fails

to prosecute or to comply with these rules or a court order, a defendant may

move to dismiss the action or any claim against it.”); Link v. Wabash R.R.

Co., 370 U.S. 626, 630-33 (1962) (although Rule 41(b) does not expressly

provide for sua sponte dismissal, Rule 41(b) does not imply any such

restriction and a court has the inherent power to dismiss a case for lack of

prosecution or violation of a court order).

      IT IS, THEREFORE, ORDERED that this action is DISMISSED

WITHOUT PREJUDICE.

      The Clerk of Court is respectfully directed to terminate this action.

      IT IS SO ORDERED.
                            Signed: October 29, 2021




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